      Case 2:20-cv-00065-SRB Document 157 Filed 04/25/22 Page 1 of 5



 1   Keith Beauchamp (012434)
     D. Andrew Gaona (028414)
 2   COPPERSMITH BROCKELMAN PLC
     2800 N. Central Avenue, Suite 1900
 3   Phoenix, AZ 85004
     Telephone: (602) 381-5493
 4   kbeauchamp@cblawyers.com
     agaona@cblawyers.com
 5   Counsel for A.P.F. Plaintiffs (Additional Counsel Listed on Signature Page)
 6
 7   David B. Rosenbaum (009819)
     Travis C. Hunt (035491)
 8   BriAnne N. Illich Meeds (036094)
     OSBORN MALEDON, P.A.
 9   2929 North Central Avenue, 21st Floor
     Phoenix, Arizona 85012-2793
10   (602) 640-9000
     drosenbaum@omlaw.com
11   thunt@omlaw.com
     billichmeeds@omlaw.com
12   Counsel for C.M. Plaintiffs (Additional Counsel Listed on Signature Page)

13
                            UNITED STATES DISTRICT COURT
14                                 DISTRICT OF ARIZONA
15   A.P.F. on his own behalf and on behalf of his    No. CV-20-00065-PHX-SRB
     minor child, O.B.; J.V.S., on his own behalf
16   and on behalf of his minor child H.Y.; J.D.G.
     on his own behalf and on behalf of his minor     NOTICE OF DEPOSITION OF
17   child, M.G.; H.P.M. on his own behalf and on     TRICIA SWARTZ, ORR
     behalf of his minor child, A.D.; M.C.L. on his
18   own behalf and on behalf of his minor child,
     A.J.; and R.Z.G. on his own behalf and on
19   behalf of his minor child, B.P.,
20                       Plaintiffs,
21         v.

22   United States of America,

23                       Defendant.

24
25
26
27
28
      Case 2:20-cv-00065-SRB Document 157 Filed 04/25/22 Page 2 of 5



 1   C.M. on her own behalf and on behalf of her       No. 2:19-cv-05217-SRB
     minor child, B.M.; L.G., on her own behalf
 2   and on behalf of her minor child, B.G.; M.R.,
     on her own behalf and on behalf of her minor
 3   child, J.R.; O.A., on her own behalf and on
     behalf of her minor child, L.A.; and V.C., on
 4   her own behalf and on behalf of her minor
     child, G.A.,
 5
                          Plaintiffs,
 6
            v.
 7
     United States of America,
 8
                          Defendant.
 9
10          Pursuant to Federal Rules of Civil Procedure 26 and 30, Plaintiffs, by and
11   through undersigned counsel, hereby give notice of the following deposition before an
12
     officer authorized by law to administer oaths.
13
     PERSON TO BE EXAMINED:                           Tricia Swartz
14
15   DATE AND TIME OF APPEARANCE:                     May 24, 2022 at 9:00 am ET

16   PLACE OF APPEARANCE:                             Remote video deposition
17
            The deposition will be taken remotely through Zoom video conference
18
     technology before an officer authorized by law to administer oaths. The deposition
19
     shall be recorded by audiovisual and stenographic means.
20
21          RESPECTFULLY SUBMITTED this 25th day of April, 2022.

22                                             OSBORN MALEDON, P.A.
23
24                                             By /s/ BriAnne N. Illich Meeds
                                                  David B. Rosenbaum
25                                                Travis C. Hunt
26                                                BriAnne N. Illich Meeds

27                                             Counsel for Plaintiffs C.M. et al.
28
                                                 2
     Case 2:20-cv-00065-SRB Document 157 Filed 04/25/22 Page 3 of 5



 1                                    ARNOLD & PORTER KAYE SCHOLER
 2                                    LLP
                                        Diana Reiter*
 3                                      Erik Walsh*
                                        Lucy McMillan*
 4                                      Harry Fidler*
 5                                      Mark Osmond*
                                        Kaitlyn Schaeffer*
 6                                      250 West 55th Street
 7                                      New York, NY 10019-9710
                                        Telephone: (212) 836-8000
 8                                      diana.reiter@arnoldporter.com
                                        erik.walsh@arnoldporter.com
 9                                      lucy.mcmillan@arnoldporter.com
10                                      harry.fidler@arnoldporter.com
                                        mark.osmond@arnoldporter.com
11                                      kaitlyn.schaeffer@arnoldporter.com
12
                                      ARNOLD & PORTER KAYE SCHOLER
13                                    LLP
                                        R. Stanton Jones*
14                                      Emily Reeder-Ricchetti*
15                                      601 Massachusetts Avenue, NW
                                        Washington, DC 20001
16                                      Telephone: (202) 942-5000
                                        stanton.jones@arnoldporter.com
17
                                        emily.reeder-ricchetti@arnoldporter.com
18
                                      KAIRYS, RUDOVSKY, MESSING,
19                                    FEINBERG & LIN LLP
20                                       Jonathan H. Feinberg*
                                         The Cast Iron Building
21                                       718 Arch Street, Suite 501 South
                                         Philadelphia, PA 19106
22
                                         Telephone: (215) 925-4400
23                                       jfeinberg@krlawphila.com
24
25
26
27
28
                                         3
     Case 2:20-cv-00065-SRB Document 157 Filed 04/25/22 Page 4 of 5



 1                                    NATIONAL IMMIGRANT JUSTICE
 2                                    CENTER
                                        Mark Fleming*
 3                                      Mark Feldman*
                                        224 S. Michigan Ave., Suite 600
 4                                      Chicago, IL 60604
 5                                      Telephone: (312) 660-1370
                                        mfleming@heartlandalliance.org
 6                                      mfeldman@heartlandalliance.org
 7
                                      NATIONAL IMMIGRATION
 8                                    LITIGATION ALLIANCE
                                         Trina Realmuto*
 9                                       Mary Kenney*
10                                       10 Griggs Terrace
                                         Brookline, MA 02446
11                                       Telephone: (617) 819-4447
12                                       trina@immigrationlitigation.org
                                         mary@immigrationlitigation.org
13
                                      AMERICAN IMMIGRATION COUNCIL
14                                      Katherine Melloy Goettel*
15                                      Emma Winger*
                                        1331 G Street NW, Suite 200
16                                      Washington, DC 20005
                                        Telephone: (202) 507-7512
17
                                        Telephone: (202) 742-5619
18                                      kgoettel@immcouncil.org
                                        ewinger@immcouncil.org
19
20                                    Counsel for Plaintiffs C.M. et al.
                                      * Admitted pro hac vice
21
                                      COPPERSMITH BROCKELMAN PLC
22
23
                                      By s/ Keith Beauchamp
24                                      Keith Beauchamp
25                                      D. Andrew Gaona

26
27
28
                                         4
     Case 2:20-cv-00065-SRB Document 157 Filed 04/25/22 Page 5 of 5



 1                                    COVINGTON & BURLING LLP
                                        Matthew J. Schlesinger*
 2                                      Jason A. Carey*
                                        Terra White Fulham*
 3                                      Teresa Park*
 4                                      Kristin Cobb*
                                        Shadman Zaman*
 5                                      One City Center, 850 Tenth Street, NW
                                        Washington, DC 20001-4956
 6                                      Telephone: (202) 662-5581
                                        mschlesinger@cov.com
 7                                      jcarey@cov.com
                                        tfulham@cov.com
 8                                      tpark@cov.com
                                        kcobb@cov.com
 9                                      szaman@cov.com
10
                                      SOUTHERN POVERTY LAW CENTER
11                                      Norma Ventura*
                                        James Knoepp*
12                                      Sharada Jambulapati*
13                                      P.O. Box 1287
                                        Decatur, GA 30031
14                                      Telephone: (404) 521-6700
                                        norma.ventura@splcenter.org
15
                                        jim.knoepp@splcenter.org
16                                      sharada.jambulapati@splcenter.org
17                                    SOUTHERN POVERTY LAW CENTER
18                                      Paul R. Chavez*
                                        P.O. Box 370037
19                                      Miami, FL 33137
                                        Telephone: (786) 347-2056
20                                      paul.chavez@splcenter.org
21                                    Counsel for Plaintiffs A.P.F. et al.
22                                    * Admitted pro hac vice

23
24
25
26
27
28
                                         5
